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                   EXHIBIT 5
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/     About Us / Introduction of a company

    Iranian Oil Terminals News Network



    Iranian Oil Terminals News Network




    The Iranian Oil Terminals Company as one of the companies under umbrella of National Iranian Oil Company is an operational, specialized and professional organization that has
    the duty of all reservation affairs, crude oil, oil products, liquefied gas and marine services export and import operations along with providing measurement and lab services. This
    important task is under implemented by aiming at support and sustained continuation of oil and gas production in the country in four operational zones of Kharg Oil Terminals,
    North Oil Terminals (Neka), Assaluyeh Oil Terminals and Mahshahr Oil Terminals through performing receipt, reserving, mixing, measuring, the quality and quantity measurement,
    loading and discharging (export and import) of crude oils and oil products (SWAP), the berthing and oil vessels operations, which has led to the completion and promotion of oil
    and gas value chain as well as playing a worthy role in the sustainment and flexibility of the national, regional and international energy chain supply. This company believes in
    creating superior value and promoting the level of customers and key beneficiaries’ satisfaction its most comprehensive policy-making cores through systemic approach,
    establishment of a vision-based, learning entity, healthy and excellent organization and for this purpose in an approach towards development, sustained excellence, knowledge-
    core and the realization of mission, it has put the observation of requirements in standards ISO14001:2004, OHSAS18001:2007, ISO/IEC17025:2005, ISO9001:2008 and has
    bound itself in observing the followings: Prevention of environment pollutions, preventing job accidents and risks, reducing and omitting risks, promoting public health and
    commitment in the responsibility to achieve a sustained future, employing and developing worthy, capable, professional, creative, innovative, responsive and motivated personnel,
    committed to the ideas and values of the company, and creating an excellent and dynamic organization, observing the national and international regulations that govern the
    activities and services of the company, understanding, perceiving and supplying demands, needs and anticipations of customers for the purpose of innovations and creating values
    for them, constant improvement in the quantity and quality of the balanced results for the company through management of processes.

    Certificates and awards

    Since 2009

    Iranian National Quality Award (INQA)

    2009: Appreciation Award of Efforts for Quality

    2010: Appreciation Letter of being known as a Star Quality

    The Certificate Issuance Institute: Iran Institute of Standard and Industrial Research

    (Secretariat of INQA)

    National Award of Productivity and Organizational Excellence (EFQM)

    2009: Two-star Appreciation Award for Excellence in Services Sector

    2010: Three-star Appreciation Letter for Excellence Services in the Sector

    2011: Four-star Appreciation for Excellence in Service Sector

    Holding Institute: Institute of Human Resources Productivity Studies

    Affiliated to Industries Development and Renovation Organization (IDRO)

    National Productivity Award 1404

    2010: Appreciation Letter of First Level alongside with the Vision

    Certificate issuance institute: The Council for Policymaking of National Productivity 1404

    Superior Organization in Technical and Specialty Services of National Iranian Oil Company at Shaheed Rajaee Festival (2012)




    Links                                                                                                                                                          Contacts Us

    National Iranian Oil Company                                                                                                                                      Pasdaran Ave. -Hojat Souri Ave. (No. 7)
                                                                                                                                                               !
    Iran Petroleum                                                                                                                                                    - No. 11

    N.I.O.C Internationa Affairs                                                                                                                               " 021-7109500
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    Shana Petro Energy Information Network

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